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              IN THE UNITED STATES DISTRICT COURT
                   MIDDLE DISTRICT OF FLORIDA
                     JACKSONVILLE DIVISION

 ALIN CHRISTOPHER PROPHETE,

       Plaintiff,

 v.                                      CASE NO.: 3:20-CV-514-BJD-LLL

 LT. STERLING PEUGH, et al.,

     Defendants.
 _____________________/


               MOTION TO FOR SUMMARY JUDGMENT


             The Defendants Peugh, Oliver, Cruz, Hampton, Williams, Bias,

 Davis, and Hood (“Defendants”), by and through the undersigned counsel

 and pursuant to Fed. R. Civ. P. 56, requests that the Court enter summary

 judgment in favor of the Defendants, because the Defendants’ use of force

 was reasonable and not maliciously nor sadistically done to cause the

 Plaintiff, and therefore no reasonable jury would find that the Defendants’

 use of force was excessive or violated the Plaintiff’s constitutional rights. The

 Defendants allege that (1) there is no genuine issue as to any material fact;

 and (2) these Defendants are entitled to a judgment.




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                      Preliminary Statement and Background

           1.     Plaintiff, Alin Christopher Prophete (hereinafter “Prophete” or

 “Plaintiff”), at the times alleged in the Third Amended Complaint

 (“Complaint”) (Doc. 12), was a state prisoner in the custody of the Florida

 Department of Corrections (“FDC” or “the Department”). See FDC’s

 Offender Search page, http://www.dc.state.fl.us/AppCommon (last visited

 July 27, 2022) (Alin C. Prophete, DC# B07712).

           2.     On May 22, 2020, the Plaintiff initiated this 42 U.S.C. § 1983 case

 alleging that on January 30, 2019 1, Defendant Peugh and five unknown

 correctional officers during a unnecessary forced cell extraction, to-wit:

                  “…I was gratuitously beaten by the five [officers or
           sergeants] on the extraction team[.] I was beaten in the head with
           handcuffs and shackles that were used as brass knuckles[.] [M]y
           penis and my testicles were repeatedly struck as well…My lip was
           split bleeding profusely and had a cut on my penis and suffered
           extreme pain in my testicles.”

 (Doc. 1 at 6-7). The Plaintiff does not reference any sexual act, as defined by

 18 U.S.C. § 2246. On October 14, 2020, Defendant Peugh served his answer

 denying the Plaintiff’s allegations. (Doc. 19).

           3.     On December 21, 2020, the Plaintiff filed an amended complaint

 alleging a sexual act, as defined by 18 U.S.C. § 2246, perpetrated by the

 Defendants occurred during the forced cell extraction on January 30, 2019.

 1   All FDC records indicate that the forced cell extraction occurred on January 30, 2019.
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 (Doc. 25 at 3, 5-11). On February 4, 2021, Defendant Peugh served his

 answer denying the Plaintiff’s allegations. (Doc. 31).

       4.    On February 16, 2021, the Plaintiff filed a Second Amended

 Complaint again alleging excessive force and a sexual act, as defined by 18

 U.S.C. § 2246, perpetrated by the Defendants occurred during the forced cell

 extraction on January 30, 2019. (Doc. 39). On February 4, 2021, Defendant

 Peugh served his answer denying the Plaintiff’s allegations. (Doc. 45).

       5.    On March 13, 2021, the Plaintiff filed his Third Amended

 Complaint alleging excessive force and a sexual act, as defined by 18 U.S.C. §

 2246, perpetrated by the Defendants on him during the forced cell extraction

 on January 30, 2019. (Doc. 64). On May 21, 2021, Defendants Peugh, Bias,

 Williams, Hampton, Cruz, and Oliver filed their answer denying the

 Plaintiff’s allegations. (Doc. 70). On August 24, 2021, Defendants Davis and

 Hood filed their answer denying the allegations. (Doc. 91).

       6.    On September 16, 2021, the Plaintiff filed his Fourth Amended

 Complaint (the “complaint” or “operative complaint”) alleging excessive

 force and a sexual act by the Defendants during the forced cell extraction on

 January 30, 2021. (Doc. 95). Plaintiff alleges that his anus was penetrated

 by open shackles before they were put on this ankles. (Doc. 95 at 8).




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                      DEFENDANTS’ ALLEGATIONS

        1.   On June 30, 2019, at approximately 10:07 hours, Plaintiff was

  causing a disturbance and refused all orders to cease. [Exs. A. Declaration

  of Defendant Peugh, Ex. J, Use of Force Report, Ex, I -1]. As a result,

  chemical agents were applied to Plaintiff’s cell. [Id.]

        2.   A second application was applied when Plaintiff refused to cease

  his behavior. [Ex. J, I-2, handheld video]. The cell extraction team was used

  to remove Plaintiff from the cell when he refused to submit to restraints.

  [Exs. A; B, Declaration of Defendant Davis; C, Declaration of Defendant

  Hood; D, Declaration of Defendant Hampton; E, Declaration of Defendant

  Cruz; F, Declaration of Defendant Oliver, G; Declaration of Defendant

  Williams; H, Declaration of Defendant Bias, Ex. I-3, hand held video].

        3.   Only the minimal amount of force necessary to bring Plaintiff

  into compliance was applied by Defendants. [Id.]



                            Memorandum of Law

 I.    Standard for Summary Judgment.

       Summary judgment is proper if the pleadings and sworn statements

 show that there is no genuine issue as to any material fact and that the

 moving party is entitled to judgment as a matter of law. Fed. R. Civ. P. 56(c).;


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 Celotex Corp. v. Catrett, 477 U.S. 317, 322, 106 S. Ct. 2548 (1986). After the

 movant brings evidence to demonstrate that lack of a case for each element

 of the claim(s), the nonmovant must provide evidence to disputing each

 element, id. at 322, where all reasonable inferences, not implausible

 inferences, are made in that party’s favor. Cuesta v. Sch. Bd. of Miami-Dade

 Cnty., Fla., 285 F.3d 962, 970 (11th Cir. 2002). To create an issue of fact for

 trial sufficient to defeat a well-support summary judgment motion, the non-

 movants evidentiary material must consist of more than conclusory,

 uncorroborated allegations from an affidavit or deposition. West v. Higgins,

 346 F. App’x 423, 425 (11th Cir. 2009) (unreported op.) (citing Earley v.

 Champion Int'l Corp., 907 F.2d 1077, 1081 (11th Cir. 1990)). For the factual

 issues to be genuine, they must have a real basis in the record, and cannot be

 based merely on unsupported factual allegations. Earley, 907 F.2d at 1081.

       The Supreme Court has further stated that if “two parties tell different

 stories [where one] is blatantly contradicted by the record, so that no

 reasonable jury could believe it, a court should not adopt that version of the

 facts for purposes of ruling on a motion for summary judgment. Scott v.

 Harris, 550 U.S. 372, 380, 127 S. Ct. 1769 (2007); see also Anderson v.

 Liberty Lobby, Inc., 477 U.S. 242, 252, 106 S. Ct. 2505, 91 L. Ed. 2d 202

 (1986); Morton v. Kirkwood, 707 F.3d 1276, 1284 (11th Cir. 2013).


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 Ultimately, “[t]he nonmovant need not be given the benefit of every

 inference but only of every reasonable inference.”                       Brown v. City of

 Clewiston, 848 F.2d 1534, 1540 n.12 (11th Cir. 1988) (emphasis added).

          Also, a court need not consider a subsequent affidavit or declaration

 that contradicts prior testimony. See Van T. Junkins & Assocs., Inc. v. U.S.

 Indus., Inc., 736 F.2d 656, 657 (11th Cir. 1984) (“When a party has given clear

 answers to unambiguous questions which negate the existence of any

 genuine issue of material fact, that party cannot thereafter create such an

 issue with an affidavit that merely contradicts, without explanation,

 previously given clear testimony.”). This rule (called the “Sham Affidavit

 Rule”) prevents a party from creating an issue of fact “simply by submitting

 an affidavit2 contradicting his prior testimony.” Kennett-Murray Corp. v.

 Bone, 622 F.2d 887, 893 (5th Cir. 1980) (quoting Perma Rsch. & Dev. Co. v.

 Singer Co., 410 F.2d 572, 578 (2d Cir. 1969))

 II.      A REASONABLE JURY WOULD NOT FIND THE
          DEFENDANTS’ USE OF FORCE WAS EXCESSIVE BECAUSE
          THE VIDEO AND DOCUMENTARY EVIDENCE SHOWS
          THAT THE DEFENDANTS’ ACTIONS WERE NECESSARY TO
          RE-ESTABLISH ORDER AND MAINTAIN DISCIPLINE
          AFTER NUMEROUS WARNINGS FOR THE PLAINTIFF TO
          CEASE HIS DISRUPTIVE BEHAVIOR AND SUBMIT TO
          RESTRAINTS.



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     “The . . . sham affidavit rule applies with equal force to declarations.” Hamilton v. Coffee
 Health Grp., 949 F. Supp. 2d 1119, 1126 (N.D. Ala. 2013).
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       In Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 250 (1986), the U.S.

 Supreme Court, in pertinent part, stated:

       “at the summary judgment stage the judge's function is not
       himself to weigh the evidence and determine the truth of the
       matter but to determine whether there is a genuine issue for
       trial… there is no issue for trial unless there is sufficient
       evidence favoring the nonmoving party for a jury to return a
       verdict for that party.” (Emphasis added).

 At the summary judgment stage, facts must be viewed in the light most

 favorable to the nonmoving party only if there is a “genuine” dispute as to

 those facts. Fed. R. Civ. P. 56(c). “[W]hen the moving party has carried its

 burden under Rule 56(c), its opponent must do more than simply show that

 there is some metaphysical doubt as to the material facts .... Where the record

 taken as a whole could not lead a rational trier of fact to find for the

 nonmoving party, there is no ‘genuine issue for trial.’” Matsushita Elec.

 Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586–587, 106 S. Ct. 1348.

 (1986)(footnote omitted). “[T]he mere existence of some alleged factual

 dispute between the parties will not defeat an otherwise properly supported

 motion for summary judgment; the requirement is that there be

 no genuine issue of material fact.” Anderson, 477 U.S. 242.        “The mere

 scintilla of evidence in support of the [non-movant’s] position will be

 insufficient. Id. at 252. “When opposing parties tell two different stories,

 one of which is blatantly contradicted by the record, so that

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 no reasonable jury could believe it, a court should not adopt that version of

 the facts for purposes of ruling on a motion for summary judgment.” Scott,

 550 U.S. at 380.

       In Burke v. Bowns, 653 F. App'x 683, 689 (11th Cir. 2016), the

 Defendants’ moved for summary judgment, and the magistrate judge

 ordered the Defendants to produce the videotapes of the three use-of-force

 incidents which the Plaintiff alleged excessive uses of force by the prison

 guards. The Defendants produced only two of the three videotapes, and after

 reviewing the tapes, the magistrate judge issued a report and

 recommendation recommending summary judgment in favor of the

 Defendants, which the District Court Judge adopted, and thereafter, the

 Plaintiff filed his objection. Id. The Plaintiff’s version of events in the

 complaint are wildly different than the Defendants’ account of the events. Id.

 at 686–688. The Eleventh Circuit upheld the district court’s ruling on all

 three events, including the September event, which was not videotaped,

 finding:

       “[T]he “core judicial inquiry” is whether “force was applied in a
       good-faith effort to maintain or restore discipline, or maliciously
       and sadistically to cause harm.” Hudson, 503 U.S. at 7, 112 S.Ct.
       995. However, “not ... every malevolent touch by a prison guard
       gives rise to a federal cause of action.” Id. at 9, 112 S.Ct. 995.
       Taking Plaintiff’s account as true, the attack was no more than a
       “de minimis use of physical force.” Id. at 9-10, 112 S.Ct. 995 (“The
       Eighth Amendment’s prohibition of cruel and unusual

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       punishments necessarily excludes from constitutional
       recognition de minimis uses of physical force, provided that the
       use of force is not of a sort repugnant to the conscience of
       mankind.” (quotation marks omitted)). First, the type of force
       allegedly used by Officer Tidwell was not “of a sort repugnant to
       the conscience of mankind.” Id. at 10, 112 S.Ct. 995 (quotation
       marks omitted). Instead, it was materially similar to the “push or
       shove” referenced in Wilkins v. Gaddy, which “almost certainly
       fails to state a valid excessive force claim.” 559 U.S. 34, 37–38,
       130 S.Ct. 1175, 175 L.Ed.2d 995 (2010)…Thus, even taking
       Plaintiff’s version of events as true, any force was de minimis,
       and the district court did not err in concluding that no genuine
       issue of material fact existed as to whether Officer Tidwell used
       excessive force in violation of the Eighth Amendment.15

       In the alternative, even if the force used was not de minimis, it
       still did not run afoul of the Eighth Amendment. Here, it is
       undisputed that Officer Tidwell was struck by Plaintiff’s bodily
       fluid and believed that Plaintiff had spit on him. And the record
       amply indicates that Plaintiff had a history of spitting on officers.
       Moreover, the amount of force used was minimal and
       appropriately calibrated to the threat posed by Plaintiff. Indeed,
       it is difficult to conceive of less severe force that Tidwell could
       have used in the circumstances. Accordingly, even
       assuming arguendo that         Tidwell    used     more      than de
       minimis force, that force was not malicious and sadistic; to the
       contrary, it was a good faith effort to restore discipline.”

       An excessive force claim under the Fourteenth Amendment requires

 application of the same standard as under the Eighth Amendment. Danley v.

 Allen, 540 F.3d 1298, 1306 (11th Cir. 2008). The test is whether the use of

 force “shocks the conscience and it necessarily will if the force was applied ...

 maliciously and sadistically for the very purpose of causing harm.” Id. at

 1307(citations and quotations omitted). The U.S. Supreme Court considers


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 five factors under the “shocks the conscience” test, as set forth in Whitley v.

 Albers, 475 U.S. 312 (1986):

       (1) the need for force; (2) the relationship between that need and
       the amount of force used; and (3) the extent of the resulting
       injury. In addition to those three factors we consider as fourth
       and fifth factors “the extent of the threat to the safety of staff and
       inmates, as reasonably perceived by the responsible official on
       the basis of facts known to them, and any efforts made to temper
       the severity of a forceful response.”

 Danley, 540 F.3d at 1307 (citing and quoting Whitley, 475 U.S. at 321). “We

 have indicated previously that under the third factor, the initial use

 of pepper spray is not necessarily a constitutional violation.” See id. The

 initial use of pepper spray does not cause any substantial or long-lasting

 injury and may be “‘a very reasonable alternative to escalating a physical

 struggle.’” Id. (quoting Vinyard v. Wilson, 311 F.3d 1340, 1348 (11th Cir.

 2002)). The extent of injury is only one factor in a Fourteenth Amendment

 excessive force claim and is not dispositive. See Wilkins v. Gaddy, 559 U.S.

 34 (2010).

       The handheld videos contradict Plaintiff’s allegations in nearly every

 aspect. [Ex.I-,1-3]. In the first video, Defendant Peugh can be seen in the

 video, asking Plaintiff to cease his disruptive behavior. [Ex. I-1] The camera

 shows Defendant Peugh approach Plaintiff’s cell and gives Plaintiff a final

 warning and warns that if he does not cease, chemical agents will be used.


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 Plaintiff can be overheard saying that he is going to let the camera leave then

 he is going to start a disturbance. [Id.] Plaintiff complied with the order

 temporarily and the began his disturbance behavior. [Ex. 1-2] Chemical

 agents were used against Plaintiff, who covered himself with a blanket to

 prevent contact. [Id.] Chemical agents were applied to Plaintiff’s cell. [Id.]

 Chemical agents were then applied again to Plaintiff for threatening staff.

 [Id.] Plaintiff was then asked to submit to hand restraints to be removed

 from his cell. [Ex. I-2-3].

       When Plaintiff refused to submit to restraints to be removed from his

 cell, the cell extraction team entered Plaintiff’s cell and removed him. [Id.]

 Plaintiff half attempted to comply with the strip search procedure so the

 Defendants entered, obtained Plaintiff’s extremities and removed him from

 the cell.[Id.] The Defendants can be seen at all times in the cell. [Ex. I-3]

       Plaintiff alleges that he was hit and punched.          The Defendants

 movements do not demonstrate that they were punching and hitting. Since

 Plaintiff did not have any underpaints on when the Defendants breached his

 cell, it is likely that he may have been touched Plaintiff in their attempts to

 gain control of Plaintiff. Plaintiff initially made allegations that the was

 struck and touched.[Ex. L. Grievances].

       Plaintiff made the allegation that he was penetrated in a grievance filed


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 in November of 2020. Plaintiff alleges that he was penetrated with the open

 end of shackles prior to the shackles being placed on his ankles. (Doc. 95,

 p8);[Ex. L,p2]. Plaintiff did not make those allegations when he was

 examined following the use of force. [Ex. K, Plaintiff’s Physical

 Examination.]

       When a Plaintiff alleges that he has been digitally penetrated, it

 becomes a matter for the jury. Sconiers v. Lockhart, 946 F.3d 1256, 1266

 (11th Cir. 2020) see also Ricks v. Shover, 891 F.3d 468, 476 (3d Cir. 2018)

 (“Absent a legitimate penological purpose, the type of touching involved in

 ... a body-cavity search would be undoubtedly cruel and unusual.”); Ga. Code

 Ann. § 16-6-22.2 (“A person commits the offense of aggravated sexual battery

 when he or she intentionally penetrates with a foreign object the sexual organ

 or anus of another person without the consent of that person.”).

       However, this is not a case of digital penetration. This is a case wherein

 Plaintiff alleges that he was penetrated with shackles, while wearing no

 boxers. A review of the video demonstrates that even if Plaintiff’s allegations

 were true, Plaintiff cannot prove that the incident occurred intentionally nor

 does he allege that the incident occurred intentionally. An intentional act is

 a require for a sexual battery as well as deliberate indifference.

       There is nothing in the videos that shocks the conscious or evidences


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 that the Defendants applied force maliciously and sadistically for the very

 purpose of causing harm. The Defendants needed to use force to remove the

 Plaintiff from the cell. Plaintiff refused to cease from causing a disturbance

 and refused to submit to restraints even though he partially complied. All

 force applied was reasonable and the minimum necessary to maintain order

 and restore discipline.      The Defendants request that the Court grant

 summary judgment in their favor.

 II.   FAILURE TO INTERVENE

       Even when an officer is not a participant in the excessive force, he can

 still be liable if he fails to take reasonable steps to protect the victim. Skrtich

 v. Thornton, 280 F.3d 1295, 1301 (11th Cir.2002). The plaintiff has the

 burden to demonstrate that the defendant was in a position to intervene but

 failed to do so. Ledlow v. Givens, 500 F. App'x 910, 914 (11th Cir. 2012)

 (citing Hadley v. Gutierrez, 526 F.3d 1324, 1330–31 (11th Cir. 2008)). The

 conduct of the officer must be more than gross negligence. Losey v.

 Thompson, 596 F. App'x 783, 788–89 (11th Cir. 2015). “'[T]he deliberate

 indifference standard—and the subjective awareness. Johnson v. Dixon, No.

 3:14-CV-579-J-39PDB, 2015 WL 12851563, at *11 (M.D. Fla. Nov. 20, 2015),

 aff'd, 666 F. App'x 828 (11th Cir. 2016) (citing Losey, 596 F. App'x at 788–

 89 (citations omitted). To be held liable… an officer (1) must have observed


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 or had reason to know that excessive force would be or was being used, and

 (2) must have had both the opportunity and the means to prevent harm from

 occurring.” Johnson, 2015 WL 12851563, at *10 (citations omitted).

        Plaintiff states that Defendants Hood and Davis did not physically

 harm him but that they are liable because they failed to intervene on his

 behalf. (Doc. 95 at 8). Plaintiff alleges that Defendant Oliver was liable

 because he failed to intervene as he watched the entire cell extraction while

 blocking the view of the camera. (Doc. 95 at 8-9).      The video of the cell-

 extraction does not reveal the need for anyone to intervene on Plaintiff’s

 behalf. The Defendants would not acquire the required subjective awareness

 needed to support a failure to protect claim. Therefore, Plaintiff’s claims

 against these Defendants should be dismissed.

 III.   Defendants are Entitled to Qualified Immunity.

        Qualified immunity addresses the problem that the threat of being

 sued may stymie an officer's ability to perform his duties effectively.

 Garczynski v. Bradshaw, 573 F.3d 1158, 1165–66 (11th Cir. 2009). Qualified

 immunity offers “complete protection for government officials sued in their

 individual capacities as long as ‘their conduct violates no clearly established

 statutory or constitutional rights of which a reasonable person would have

 known.’” Thomas ex rel. Thomas v. Roberts, 261 F.3d 1160, 1170 (11th Cir.


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 2001), cert. granted, judgment vacated sub nom. Thomas v. Roberts, 536

 U.S. 953, 122 S. Ct. 2653, 153 L. Ed. 2d 829 (2002), and opinion reinstated,

 323 F.3d 950 (11th Cir. 2003) (quoting Harlow v. Fitzgerald, 457 U.S. 800,

 818, 102 S. Ct. 2727, 73 L. Ed. 2d 396 (1982)) (additional quotations

 omitted). Qualified immunity allows government officials to carry out

 discretionary duties without the fear of personal liability or harassing

 litigation. Anderson v. Creighton, 483 U.S. 635, 638, 107 S. Ct. 3034, 97 L.

 Ed. 2d 523 (1987).

       For qualified immunity to apply, the official must prove that the act was

 within the scope of his/her discretionary authority when the allegedly

 wrongful act occurred, Courson v. McMillian, 939 F.2d 1479, 1487 (11th Cir.

 1991). Defendants assert that the incident occurred while Defendants were

 at work in the course of their duties. Saucier v. Katz, 533 U.S. 194, 201, 121

 S. Ct. 2151, 150 L. Ed. 2d 272 (2001) Defendants submit that there is no

 question that they were acting within their discretionary authority at all

 times during the allegations made in Plaintiff’s complaint and were not

 aware of any violations of Plaintiff’s constitutional rights.




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                               CONCLUSION

       For all of the foregoing reasons, Defendants submit that summary

 judgment should be entered in their favor, and this action dismissed, with

 prejudice.

                                     Respectfully submitted,

                                     ASHLEY MOODY
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                                     Shirley Wilson Durham
                                     Senior Assistant Attorney General
                                     Florida Bar No. 0993204
                                     Shirley. Durham@myfloridalegal.com



                       CERTIFICATE OF SERVICE

       On August 9, 2022, I certify that a true and correct copy of the

 foregoing was electronically filed with the Clerk of Court using CM/ECF and

 furnished by U.S. Mail to: Alin C. Prophete, DC# B07712, Florida State

 Prison, P. O. Box 800, Raiford, FL 32083.

                                            /s/ Shirley Wilson Durham
                                            Shirley Wilson Durham
                                            Senior Assistant Attorney General



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                   IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                          JACKSONVILLE DIVISION

 ALIN CHRISTOPHER PROPHETE,

           Plaintiff,

 v.                                          CASE NO.: 3:20-CV-514-BJD-JRK

 LT. STERLING PEUGH, et al.,

     Defendants.
 _____________________/



                                 INDEX TO EXHIBITS


      1.   Ex.   A. Declaration of Defendant Peugh
      2.   Ex.   B. Declaration of Defendant Davis
      3.   Ex.   C. Declaration of Defendant Hood
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      5.   Ex.   E. Declaration of Defendant Cruz
      6.   Ex.   F. Declaration of Defendant Oliver
      7.   Ex.   G. Declaration of Defendant Williams
      8.   Ex.   H. Declaration of Defendant Bias
      9.   Ex.   I. Hand held videos of uses of force
                     1- Chemical agents
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  10. Ex. J.        Use of Force Report
  11. Ex. K. Plaintiff’s Physical Examination
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                                     Respectfully submitted,

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                                     /s/ Shirley Wilson Durham
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                                            Senior Assistant Attorney General




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